                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                           Plaintiff,                )
                                                     )
         vs.                                         )      No. 22-03108-01-CR-S-BP
                                                     )
SHANDRA HESTON,                                      )
                                                     )
                           Defendant.                )


                         ACCEPTANCE OF PLEA OF GUILTY AND
                              ADJUDICATION OF GUILT


         Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Indictment and

admitted to the Forfeiture Allegation filed on September 27, 2022, is now Accepted and the

Defendant is Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the

Court.

                                                              /s/ Beth Phillips
                                                             BETH PHILLIPS
                                                     UNITED STATES DISTRICT JUDGE




Date: October 12, 2022




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